                                                                              Case 2:17-cv-00562-MMD-DJA Document 94 Filed 07/16/20 Page 1 of 2



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                                                                          7                               UNITED STATES DISTRICT COURT
                                                                          8                                     DISTRICT OF NEVADA
                                                                          9                                                    CASE NO: 2:17-cv-00562-MMD-DJA
                                                                               LUIS CERVANTES,
                                                                         10
                                                                                             Plaintiff,                        STIPULATION AND ORDER TO EXTEND
                                                                         11
HATFIELD & ASSOCIATES, LTD.




                                                                                                                               TIME FOR PLAINTIFF TO RESPOND TO
                              703 8th Street * Las Vegas, Nevada 89101




                                                                                      vs.                                         DEFENDANT ALLAN KIRKWOOD,
                                                                         12
                                                                                                                                  D.D.S.’S MOTION FOR SUMMARY
                                      Telephone (702) 388-4469




                                                                         13                                                                  JUDGMENT
                                                                               EDDIE SCOTT, et al.,
                                                                                                                                            (Third Request)
                                                                         14
                                                                                             Defendants.
                                                                         15
                                                                                     COMES NOW, Plaintiff Luis Cervantes (“Plaintiff”), by and through his counsel, the law
                                                                         16
                                                                              firm of Hatfield & Associates, Ltd., appearing pro bono publico, and Defendant Allan
                                                                         17
                                                                         18 Kirkwood, D.D.S. (“Defendant Kirkwood”) by and through his counsel, the law firm of Lewis
                                                                         19 Brisbois Bisgaard & Smith, LLP, hereby stipulate and agree to extend the time for Plaintiff to
                                                                         20 Respond to Defendant Allan Kirkwood, DDS’s Motion for Summary Judgment (ECF #81). This
                                                                         21
                                                                            request is submitted pursuant to LR IA 6-1, 6-2 and LR II 7-1 and 26-4 and is the party’s third
                                                                         22
                                                                            request for an extension of time for Plaintiff to respond to Defendant’s Motion for Summary
                                                                         23
                                                                         24 Judgment.
                                                                         25          Good cause exists for this extension, as the current coronavirus/COVID-19 pandemic has
                                                                         26 caused, and continues to cause, disruption to the practices of counsel involved in this case. In
                                                                         27
                                                                            addition, Plaintiff is incarcerated in Ely State Prison and Plaintiff’s Counsel has had difficulty
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                                                                            communicating with him to formulate an opposition to Defendant’s Motion for Summary Judgment.
                                                                              Case 2:17-cv-00562-MMD-DJA Document 94 Filed 07/16/20 Page 2 of 2



                                                                              In addition, Plaintiff’s Counsel requests additional time so the parties may potentially explore
                                                                          1
                                                                          2 resolution. This request is also made due to Plaintiff’s counsel having a need for additional time and
                                                                          3 Defendant has courteously granted this extension of time to file Plaintiff’s Response.
                                                                          4          Accordingly, Plaintiff shall have up to and including July 24, 2020, to respond to
                                                                          5
                                                                              Defendant Allan Kirkwood, DDS’s Motion for Summary Judgment (ECF #81).
                                                                          6
                                                                              DATED this 15th day of July, 2020
                                                                          7
                                                                          8 HATFIELD & ASSOCIATES                               LEWIS BRISBOIS BISGAARD & SMITH,
                                                                                                                                LLP
                                                                          9          /s/ Trevor J. Hatfield                            /s/ Katherine J. Gordon
                                                                              By:                                               By:                   _________________
                                                                         10    Trevor J. Hatfield, Esq. (SBN 7373)
                                                                               703 S. Eighth Street                              S. Brent Vogel, Esq. (SBN 6858)
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                                                                                                                                 Attorneys for Defendant Allan Kirkwood, DDS
                                                                         15
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                                                                         18
                                                                         19
                                                                         20
                                                                                                                            ORDER
                                                                         21
                                                                         22 IT IS SO ORDERED:
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                                                                                                                            UNITED STATES DISTRICT JUDGE
                                                                         24                                                 Dated: July 16, 2020
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